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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                                        :
In re:                                  :
                                        :
     Toru Paul May                      :  Case No.: 17-30086
                                        :  Chapter 13
         Debtor.                        :  Judge Thomas H. Fulton
                                        :  *********************
                                        :


     AGREED ORDER RESOLVING MOTION FOR RELIEF FROM STAY (DOCKET
              NUMBER 15) AS TO REAL PROPERTY LOCATED AT
                8003 BROADFERN DR, LOUISVILLE, KY 40291

         This matter having come before the Court on the Motion for Relief from Stay which was

filed in this court by MTGLQ Investors, L. P. ("Movant") , by and through its mortgage

servicing agent Shellpoint Mortgage Servicing, as Docket Number 15; and it appearing to the

Court that the parties have agreed to a course of action which will permit the continuation of the

automatic stay conditioned upon certain provisions incorporated herein for the protection of

Movant; and the Court, being otherwise fully advised in the premises, hereby issues the

following Order with respect thereto:

1.       The Chapter 13 Plan filed herein on behalf of Toru Paul May (''Debtor'') provided that

         said Debtor was to make regular monthly mortgage payments to Movant outside of the

         Plan in a regular monthly fashion.

2.       In breach of the terms of said Plan, the Debtor failed to make certain of the regular

         monthly mortgage payments to Movant; said payments are currently in default for the

         months of February 2017 and subsequent months, incurring a total post-petition arrearage

         of $4,107.52, which consists of 4 post-petition payments for February 2017 through May

         2017 at $856.63 each, and attorney fees and costs of $681.00.


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3.    In order to eliminate said post-petition delinquency, the Debtor hereby agrees to pay to

      Movant, and Movant hereby agrees to accept a lump sum payment in the amount of

      $4,107.52 representing the post petition arrearage and attorney fees detailed above within

      30 days of entry of this order.

4.    The Debtor hereby agrees to resume regular monthly mortgage payments outside the Plan

      directly to Movant for the June 1, 2017 regular monthly mortgage payment and to make

      all further monthly payments in a timely fashion.

5.    This Agreed Order remains in full force and effect in the event Debtor's case is dismissed

      by the Court and Debtor subsequently reinstates his case by order of the Court and/or the

      Movant obtains relief from stay and the stay is subsequently reinstated by order of the

      Court.

6.    The following are events of default under this Agreed Order: (a) Debtor fails to make the

      lump sum payment hereinabove described within 30 days of entry of this order; (b)

      Debtor fails to pay any future monthly mortgage payment so that the payment is not

      received by Movant on or before the last day of the month in which it is due (hereinafter,

      any of the events described above shall be referred to as a "Default").

7.    In the event of a Default, Movant shall send a letter with a ten (10) day opportunity for

      Debtor to respond, notifying the Debtor is in default under the terms of the Agreed Order.

      If no response is filed to said letter, Movant shall file a Certificate of Non-Compliance,

      and upon filing of a Certificate of Non-Compliance the stay shall be terminated without

      further hearing.

8.    Debtor's opportunity to cure the default shall be limited to three occurrences. Upon the

      occurrence of the fourth Default, the stay imposed by Section 362(a) of the Bankruptcy
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       Code with respect to Creditor, its successors and assigns shall be terminated without

       further notice by the filing of a Certificate of Non-Compliance.




IT IS SO ORDERED.

Submitted by:


 /s/ Amy E. Gardner
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Attorney for Debtor

_/s/ Toru Paul May___________
Toru Paul May
Debtor

Copies to:

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  Fred R. Simon, Attorney for Debtor, 1100 PNC Plaza, 500 W. Jefferson Street, Louisville,
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  Toru Paul May
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  Toru Paul May, Debtor, 8003 Broadfern Dr, Louisville, KY 40291
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